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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION


  NAPOLEON GRAY,

       Plaintiff,

  v.                                                  CIVIL ACTION NO.
                                                    5:20‐cv‐00242‐TES‐CHW
  UNKNOWN DEFENDANT,

       Defendant.



                                          ORDER



       Plaintiff Napoleon Gray, a prisoner in Rutledge State Prison in Columbus,

Georgia, filed a handwritten document asserting claims under 42 U.S.C. § 1983. [Doc. 1].

Plaintiff did not, however, use the required § 1983 form. [Id.]. Moreover, Plaintiff did

not either pay the Court’s $400.00 filing fee or move for leave to proceed in forma

pauperis. Thus, the United States Magistrate Judge ordered Plaintiff to recast his

complaint on the proper form and either pay the $400.00 filing fee or file a proper and

complete motion to proceed in forma pauperis. [Doc. 5].

       The Magistrate Judge gave Plaintiff twenty‐one days to file his recast complaint

and either pay the filing fee or seek leave to proceed in forma pauperis. [Id.].

Additionally, the Magistrate Judge cautioned Plaintiff that his failure to fully and timely

comply with that order could result in the dismissal of this action. [Id.]. Thereafter,
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Plaintiff did not file a recast complaint, pay the filing fee, or seek leave to proceed in

forma pauperis. Instead, Plaintiff filed two motions seeking relief unrelated to the

previous order. [Doc. 7]. Thus, because Plaintiff did not file a recast complaint, pay the

filing fee, or seek leave to proceed in forma pauperis, the Magistrate Judge deferred

ruling on Plaintiff’s motions pending his filing of a recast complaint and resolution of

the filing fee issue. [Doc. 8].

       Moreover, the Magistrate Judge ordered Plaintiff to respond and show cause to

the Court why this case should not be dismissed based on his failure to file a recast

complaint on the proper form and either pay the filing fee or seek leave to proceed in

forma pauperis, as previously directed. [Id.]. The Magistrate Judge again gave Plaintiff

twenty‐one days to respond and warned Plaintiff that his failure to fully and timely

respond would result in the Court dismissing this action. [Id.].

       More than twenty‐one days have passed since the Magistrate Judge entered the

order to show cause, and Plaintiff has not filed any response to that order. Thus,

because Plaintiff has failed to comply with the previous orders or to otherwise

prosecute his case, the Court now DISMISSES the complaint WITHOUT PREJUDICE.

See Fed. R. Civ. P. 41(b); Brown v Tallahassee Police Dep’t, 205 F. App’x 802, 802 (11th Cir.

2006) (per curiam) (“The court may dismiss an action sua sponte under Rule 41(b) for

failure to prosecute or failure to obey a court order.”) (citing Fed. R. Civ. P. 41(b) and

Lopez v. Aransas Cty. Indep. Sch. Dist., 570 F.2d 541, 544 (5th Cir. 1978)).


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SO ORDERED, this 20th day of October, 2020.

                               S/ Tilman E. Self, III
                               TILMAN E. SELF, III, JUDGE
                               UNITED STATES DISTRICT COURT




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